Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 1 of 10 PageID# 217
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 2 of 10 PageID# 218
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 3 of 10 PageID# 219
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 4 of 10 PageID# 220
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 5 of 10 PageID# 221
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 6 of 10 PageID# 222
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 7 of 10 PageID# 223
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 8 of 10 PageID# 224
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 9 of 10 PageID# 225
Case 3:09-cr-00418-HEH-RCY Document 73 Filed 04/25/12 Page 10 of 10 PageID# 226
